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Stephen R. Harzis, Esq.
Harris Law Practice LLC
6151 Lakeside Drive, Suite 2100
Reno, NV 89511
775 786 7600

 

 

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STEPHEN R. HARRIS, ESQ.

Nevada Bar No. 001463

HARRIS LAW PRACTICE LLC
6151 Lakeside Drive, Suite 2100
Reno, NV 89511

Telephone: (775) 786-7600
E-Mail: steve@harrislawreno.com
Attorneys for Debtor

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEVADA

ORK OKO

Case No. 21-50466-btb

IN RE:
(Chapter 13)
JULIANA MAYER LOZA,
Debtor ATTORNEY INFORMATION SHEET
‘ FOR PROPOSED ORDER
SHORTENING TIME

Hearing Date: N/A
Hearing Time:

Est. Time:

Set by:

As required by the Court under LR 9006, STEPHEN R. HARRIS, ESQ., of HARRIS
LAW PRACTICE LLC, attorney for JULIANA MAYER LOZA (“Debtor”), provided notice or
attempted to provide notice to the following parties, or their counsel, of the proposed Order
Shortening Time with respect to a hearing on her DEBTOR’S MOTION FOR SANCTIONS
AGAINST LEVERTY & ASSOCIATES LAW, CHTD. AND ALLIED FORECLOSURE
SERVICES FOR WILLFUL VIOLATION OF THE § 362(a) AUTOMATIC STAY AND TO
DECLARE FORECLOSURE SALE VOID AB INITIO (Docket No. 7) (“Motion”) filed on June
24, 2021, in the above-captioned case. They agree or disagree to the time being shortened, as

indicated below:

 
Stephen R. Harris, Esq.
Harris Law Practice LLC

Co BH ss BD AW BP WD NO kK

BO NO NP NH HN NHN HN NY HR He He RF Re Ee = | |
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6151 Lakeside Drive, Suite 2100

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NAME

William Ginn, Esq.

Leverty & Associates Law, CHTD.

Judith A. Otto, Esq.
Attorney for Allied Foreclosure
Services

DATED this 24" day of June 2021.

HOW & WHEN AGREE/DISAGREE
June 24, 2021 Disagree- See Attached
Via email

June 24, 2021 No Response.

Via email

STEPHEN R. HARRIS, ESQ.
HARRIS LAW PRACTICE LLC

/s/ Stephen R. Harris

 

Attorneys for Debtor

 
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Hannah Bass

 

ae a ee

From: Steve Harris

Sent: Thursday, June 24, 2021 11:38 AM

To: Hannah Bass

Subject: FW: J. Mayer Loza Chapter 13---OST request for hearing on Debtor's Motion For
Sanctions

Stephen R. Harris, Esq.

Harris Law Practice LLC
6151 Lakeside Drive, Suite 2100
Reno, Nevada 89511
775-786-7600
steve@harrislawreno.com

 

 

From: Bill Ginn <bill@levertylaw.com>
Sent: Thursday, June 24, 2021 11:24 AM
To: Steve Harris <steve@harrislawreno.com>; Patrick Leverty <Pat@levertylaw.com>; law@ottoitd.com
Ce: Jess Rinehart <jess@levertylaw.com>

Subject: RE: J. Mayer Loza Chapter 13---OST request for hearing on Debtor's Motion For Sanctions

Dear Mr. Harris,

Patrick Leverty, Gene Leverty and myself are beginning a three week trial in Las Vegas as | write this. As a result, we are
not available to attend any hearings in Reno until after July 16, 2021.

Sincerely

William R. Ginn, Esq.

 

LEVERTY & ASSOCIATES LAW CHTD.
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From: Steve Harris <steve@harrislawreno.com>

Sent: Thursday, June 24, 2021 11:17 AM

To: Patrick Leverty <Pat@levertylaw.com>; law@ottoltd.com

Ce: Bill Ginn <bill@levertylaw.com>

Subject: J. Mayer Loza Chapter 13---OST request for hearing on Debtor's Motion For Sanctions

Hello Patrick and Judy----attached is a filed Debtor’s Motion For Sanctions. | am requesting shortened time for hearing
the subject Motion on tomorrow Friday or Monday June 28", and | am required by the Local Rules to solicit your
agreement or disagreement to such proposed shortened time for hearing request. Therefore, please reply to this email
by 1:00PM today with your indicated agreement or disagreement. After 1:00PM, | intend to file the pleadings requesting
shortened time for hearing and lodge the Order with respect to same. Thankyou. Steve Harris

Stephen R. Harris, Esq.
Harris Law Practice LLC
6151 Lakeside Drive, Suite 2100
Reno, Nevada 89511
775-786-7600

steve@harrislawreno.com
